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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA
                               BATON ROUGE DIVISION


ROY HENDERSON                                      DOCKET NO.:

VERSUS                                             JUDGE:

JERRY HORTON, EAST AND WEST                        MAGISTRATE:
TRUCKING, INC. AND SENTRY
SELECT INSURANCE COMPANY


           NOTICE OF FILING AND CERTIFICATE OF REMOVING DEFENDANTS


         NOW INTO COURT, through undersigned counsel, come defendants, JERRY

HORTON, EAST AND WEST TRUCKING, INC. AND SENTRY SELECT INSURANCE

COMPANY, who attach hereto copies of all process, pleadings, and orders in the state

court proceedings received by these defendants.

      The documents, copies of which are attached hereto as “Exhibit A”, include:

1.       Civil Case Reporting Sheet
2.       Petition for Damages
3.       Citation to Sentry Select Insurance company
4.       Citation to Jerry Horton
5.       Citation to East and West Trucking, Inc.
6.       Service of Citation to Sentry Select Insurance Company
7.       Correspondence from Plaintiff’s attorney to Clerk of Court regarding Affidavits of
8.       Mailing for Long Arm Statute
9.       Affidavit of Long Arm mailing to Jerry Horton
10.      Copy of ‘green card” receipt of long arm mailing by Jerry Horton
11.      Affidavit for Long Arm mailing to East and West Trucking, Inc.
12.      Copy of “green card” receipt of long arm mailing of Citation by East and West
         Trucking, Inc.

                                           Respectfully submitted:

                                           RABALAIS, HEBERT & COUVILLION, LLC

                                           s/ Melvin A. Eiden
                                           __________________________________
                                           STEVEN B. RABALAIS (#17100) T.A.
                                           MELVIN A. EIDEN (#19557)
                                           BLAKE T. COUVILLION (#37443)
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                                           ATTORNEYS FOR DEFENDANTS,
                                           JERRY HORTON, EAST AND WEST TRUCKING,
                                           INC. AND SENTRY SELECT INSURANCE
                                           COMPANY
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing has this day been

forwarded as follows:

                   ---   U.S. Mail (First Class)
                   ---   Hand Delivery
                   ---   Facsimile
                   ---   Overnight Delivery
                   ---   E-Mail – All Known Counsel
                   X     E-Mail – All Known Counsel of record through the
                         CM/ECT System

      Lafayette, Louisiana on this 17th day of May, 2022.

                                  s/ Melvin A. Eiden
                            ________________________
                              STEVEN B. RABALAIS
                                MELVIN A. EIDEN
                              BLAKE T. COUVILLION
